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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

DANESH     NOSHIRVAN,          an
individual,

            Plaintiff,

v.                                    Case No:    2:23-cv-1218-JES-KCD

JENNIFER      COUTURE,      an
individual, RALPH GARRAMONE
M.D., an individual, RALPH
GARRAMONE M.D. P.A., CENTRAL
PARK OF SOUTHWEST FLORIDA,
LLC, WRAITH, LLC, SULLIVAN
STREET   INVESTMENTS,     LLC,
HAIRPIN   TURN,     LLC,   OMG
REALTY, LLC, R G WEIGHT
MANAGEMENT,    LLC,    CENTRAL
PARK SOUTH, LLC, BRANTLEE,
LLC,    LEGACY     OF    MARIE
GARRAMONE, LLC, GARRAMONE
MARKETING,      INC.,     5681
DIVISION LLC, THE LAW OFFICE
OF PATRICK TRAINOR ESQ. LLC,
PATRICK      TRAINOR,       an
individual, and ANTI-DOXING
LEAGUE INC.,

            Defendants.



                              OPINION AND ORDER

      This matter comes before the Court on review of three Motions

to Dismiss from defendants (Docs. ##160, 161, 162) filed on October

21, 2024. Plaintiff filed Responses in Opposition with attached

exhibits    (Docs.   ##168,    169,   170)   on   November    1,   2024.   With

permission from the Court (Docs. ##177, 183), some Defendants filed
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Replies on November 5, 2024 (Doc. #182) and November 15, 2024.

(Doc. #187.) For the reasons set forth below, the Motions are

denied in part and granted in part.

                                         I.

   A. Procedural Summary

      The original Complaint (Doc. #1) was filed by Danesh Noshirvan

(Plaintiff or Noshirvan) on December 26, 2023.                    The Complaint was

filed against seventeen defendants and described itself as “a civil

conspiracy and agency action for defamation, tortious inference,

misappropriation     of      likeness,    and     intentional        infliction    of

emotional distress.”         (Id. ¶ 1.)       It was dismissed sua sponte for

failing to properly allege diversity jurisdiction. (Doc. #24.)

      Plaintiff    then   filed    the        First   Amended      Complaint   (FAC)

against the same seventeen defendants. (Doc. #26.) The FAC survived

a Rule 12(b)(1) motion to dismiss for lack of subject-matter

jurisdiction. (Doc. #65.) But later the Court granted a motion for

judgment on the pleadings as to the first count (civil conspiracy

to intentionally interfere with custodial rights) and the sixth

count (agency), dismissing both counts without prejudice. (Doc.

#130.)

      Noshirvan subsequently filed a Second Amended Complaint (SAC)

(Doc. #139), which is now the operative pleading. The SAC names

the same seventeen defendants: (1) Jennifer Couture (Couture); (2)

Ralph Garramone M.D. (Garramone); (3) Ralph Garramone M.D. P.A.



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D/B/A    Garramone     Plastic       Surgery      (GPS);     (4)       Central    Park    of

Southwest Florida, LLC (Central Park); (5) Wraith, LLC (Wraith);

(6)    Sullivan     Street    Investments,         LLC     (Sullivan       Street);      (7)

Hairpin Turn, LLC (Hairpin Turn): (8) OMG Realty, LLC (OMG Realty);

(9) R G Weight Management, LLC (R G Weight Management); (10)

Central Park South, LLC (CPS); (11) Brantlee, LLC (Brantlee); (12)

,     Legacy   of   Marie     Garramone,        LLC     (Legacy);       (13)     Garramone

Marketing, Inc. (Garramone Marketing); (14) 5681 Division LLC

(5681 Division); (15) The Law Office of Patrick Trainor Esq., LLC

(Law Office); (16) Patrick Trainor (Trainor); and (17) Anti-Doxing

League, Inc. (ADL). Trainor is a lawyer who owns the Law Office

and the ADL. Garramone owns or controls all the other defendant

entities.

        The SAC omits the custodial interference claim previously

dismissed by the Court (Doc. #139, p. 56), but asserts eighteen

counts against various combinations of the seventeen Defendants.

Four counts allege civil conspiracy claims against all Defendants

for     conspiracy     to     tortiously          interfere        with     a     business

relationship (Count 2), conspiracy to commit defamation (Count 3),

conspiracy     to   intentionally        inflict       emotional        distress   (IIED)

(Count 4), and conspiracy to misappropriate Noshirvan’s likeness

(Count 5). The remaining counts seek to impose agency liability on

various    defendants        for    torts   which        were   the     object     of    the

conspiracies.



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   B. Factual Summary

      In brief summary, the SAC makes the following pertinent

factual allegations:

      Noshirvan    identifies       himself    variously         as    “an    online

entertainer and journalist,” a “social media personality publicly

known for his commentary and opinions on politics, civil rights,

and current social issues,” “a social media personality publicly

known for his ability to find and identify ‘bad actors’ and his

commentary on politics, civil rights, and current social issues,”

“a citizen journalist” who adds “commentary and satire” during

news reports, and an “adult media personality and journalist” who

uses social media platforms to report news which does not initially

make the cut for major media outlets.

      Noshirvan published a video on social media of a confrontation

between Couture and a young woman in a parking lot. Couture and

Garramone    (Couture’s      boyfriend   and   employer)        allegedly     became

enraged and, fueled by their need for vengeance or retribution,

they “connected with” Camp, who in turn “connected” them with

Trainor and the Trainor Law Firm.              (Id. ¶ 103.) So began the

alleged conspiracy to injure, harm, and destroy Noshirvan.

      Camp   is   described    as   “a   ‘for-hire’     social        media   troll,

harasser, maligner, and defamer, who freelances his service to the

highest bidder.” (Id. ¶ 69.) Couture, GPS, Garramone, and Central

Park each allegedly hired Camp to be their representative and



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marketing, social media, and online reputation manager. Couture,

Garramone, and GPS paid Camp bi-weekly, while Central Park paid

Camp in-kind by housing him at a property it owns on Winkler Road

in Fort Myers, Florida (the Winkler Road Property).                 While Camp is

named in the caption of Counts 6-14 and 17 as if he is a defendant,

he is not a named party or defendant in any of the causes of action

in the case, and no summons was requested (Docs. ##2-18, 22) or

issued for Camp.     (Docs. ##21, 23.)

      Trainor, ADL, or Camp created social media profile accounts

on various platforms to contact other people who had been “publicly

outed”   by   Noshirvan.      (Id.   ¶    89.)     Noshirvan      views   this   as

recruiting co-conspirators.       (Id. ¶¶ 91, 104, 105.)

      Couture and Garramone allowed Camp to live at the Winkler

Road Property owned by Central Park. (Id. ¶ 108.) While living

there, Camp published a video calling Noshirvan a “child predator”

and directing viewers to report Noshirvan to Child Protective

Services for child abuse and neglect.               (Id. ¶ 112.)       In another

video from the Winkler Road Property, Camp falsely asserted he was

in Noshirvan’s hometown in Pennsylvania. Camp stated that he was

working alongside others to impoverish Noshirvan and ruin his

reputation by, among other things, circulating certain flyers,

billboards,    emails,   television       ads,    and    pennysaver     ads   about

Noshirvan.    (Id. ¶ 118.)




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      At about the same time, Couture and Garramone actually were

in Pennsylvania. They took pictures of Noshirvan at his home and

scattered flyers around Noshirvan’s hometown, including in the

bathroom of a local butcher shop they believed was owned by

Noshirvan’s in-laws. At least two distinct types of flyers were

published, including one that contained a picture of Noshirvan’s

face and asked “Have you seen this predator?” A billboard and a

pennysaver ad (depicted below) were also published in Noshirvan’s

hometown containing Noshirvan’s face:




The   ads   were    purchased    by   Trainor   and   his    law   firm   using

unidentified donor funds. Dialing the phone number on the ads

directed callers to Trainor or his law firm. Camp claimed credit

for the ads and flyers. (Id. ¶ 128.)

      A string of other events allegedly occurred: a negative

website     about    Noshirvan    called    “www.thatdaneshguy.com”         was

published; social media accounts named “victimsofthatdaneshguy”



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were    created      on     various   platforms;           a   SWAT    team   was     sent      to

Noshirvan’s home based on false reports; Noshirvan’s social media

accounts were falsely reported to their respective platforms for

misconduct; Noshirvan was reported to Child Protective Services

three    times;      and     a    flyer   for       a    fictious     swingers   party         was

published with the contact information of Noshirvan and his wife.

       Couture posted the website and the flyer on her social media,

and falsely asserted Noshirvan was publishing sexual images of her

online. Among other things, Couture called Noshirvan a “revenge

pornographer” who has “some sexual fantasy” about her. Couture

shared    her       plans    about    getting           revenge   on   Noshirvan         and    of

publishing a billboard about Noshirvan with her co-workers at GPS.

        Camp    also      began    sending      mass       communications.       He      texted

Noshirvan hundreds of times. He emailed Noshirvan’s donors and

subscribers, causing them to withdraw their support. He published

hundreds       of    social       media   posts          about    Noshirvan.        In    these

communications and others, Noshirvan was described variously as a

child groomer, a sexual predator, a pedophile, a cyber bully, a

stalker, a sextortionist, and a blackmailer. It was also stated

that Noshirvan rapes his own child and caused a fourteen-year-old

to commit suicide.

       Additionally, Camp allegedly: distributed sexually explicit

images of Noshirvan after hacking his social media account; sent

Noshirvan pictures of Noshirvan and his child in their yard;



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threatened to publish the criminal history of Noshirvan’s lawyer’s

wife, causing the lawyer to withdraw as Noshirvan’s counsel; and

claimed on social media to have placed cameras in Noshirvan’s

hometown to watch him.

                                          II.

       Defendants now move to dismiss the SAC for multiple reasons,

including    failure     to     state    a   claim   and   failure    to   join   an

indispensable        party    (i.e.      Camp).      Before    addressing      those

arguments, the Court addresses the threshold issues of whether the

SAC improperly added new claims and whether Defendants forfeited

their current arguments by not raising them in connection with the

FAC.

       A.   SAC Improperly Adds Some New Claims

       Defendants argue that Plaintiff improperly “expanded” the

pleadings when he added new vicarious liability counts, implying

this is a ground for dismissal. (Doc. #162, p. 2.)

       The previous complaint, the FAC, was filed on January 4, 2024.

(Doc. #26.) The FAC raised a single vicarious liability claim

titled “Agency” alleging that some defendants were responsible for

Camp’s actions. (Doc. #26, ¶ 210) (“Garramone[] and [the] Garramone

Entities are responsible under respondeat superior for Camp[’s]

acti[ons]    .   .   .   .”).    No     other    principal,    agent,    or   agency

relationships were alleged.




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      The vicarious liability claim was dismissed without prejudice

because it failed to give defendants notice of what underlying

independent wrongs by Camp were being imputed to them. (See Doc.

#130.). The order instructed that “[i]n any forthcoming amended

complaint, Noshirvan should take care to separate each alleged

underlying independent wrong into a separate count and specify

which defendants are liable for what acts of Camp as to each.”

(Doc. #130 at p. 10)(emphasis added). Noshirvan then filed the SAC

alleging a mix of defendants were liable for the acts of Camp,

Couture, Garramone, Trainor, and the Trainor Entities in counts

six, ten, twelve, thirteen, sixteen, eighteen, and nineteen. (Doc.

#139.)

      Because the deadline to amend the pleadings had long passed

and the vicarious liability count was only dismissed without

prejudice    so   Plaintiff   could   identify       the   independent    wrongs

committed by Camp, the addition of independent wrongs committed by

others without leave or good cause was improper and will not be

considered. See Abel v. Porsche Cars N. Am., Inc., No. 6:24-CV-

593-PGB-DCI,      2024   WL   4573268,    at    *1    (M.D.     Fla.   Oct.   24,

2024)(refusing to entertain new allegations filed after deadline

to amend pleadings that went beyond limited dismissal order). The

vicarious liability counts will only be considered to the extent

they allege vicarious liability against defendants for the actions

of Camp. As a result, Couture is stricken as an alleged agent from



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 counts six, ten, twelve, thirteen, and eighteen; Garramone is

 stricken as an alleged agent from counts twelve, thirteen, and

 eighteen; and counts sixteen and nineteen are dismissed without

 prejudice entirely as they attempt to attach vicarious liability

 solely for the actions of Couture and Trainor/Trainor Entities,

 respectively.

       B. SAC Dismissal Arguments Not Waived or Forfeited

       For his threshold issue, Noshirvan argues that Federal Rule

 of Civil Procedure “12(g)(2) bars Defendants from raising the

 issues in this second consecutive Rule 12 motion.” (Doc. #168, p.

 7.) Defendants disagree, as does the Court.

       The pertinent portion of Rule 12 provides that “[e]xcept as

 provided in Rule 12(h)(2) or (3), a party that makes a motion under

 this rule must not make another motion under this rule raising a

 defense or objection that was available to the party but omitted

 from its earlier motion.” Fed. R. Civ. P. 12(g)(2). The rule

 requires consolidation of all available pre-pleading defenses in

 a single motion, Leyse v. Bank of Am. Nat. Ass'n, 804 F.3d 316,

 320 (3d Cir. 2015), and distinguishes between defenses that are

 forfeited if not raised in the first Rule 12 motion, Fed. R. Civ.

 P. 12(h)(1), the defense that is never forfeited (subject-matter

 jurisdiction), Fed. R. Civ. P. 12(h)(1), and defenses that survive

 up to trial. Fed. R. Civ. P. 12(h)(2).




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        The present motions to dismiss are the third round of Rule 12

 motions. First, all the Defendants filed a Rule 12(b)(1) motion

 contesting   subject-matter    jurisdiction.      (Doc.      #46.)   Then,   GPS

 filed a Rule 12(c) motion for judgment on the pleadings. (Doc.

 #110.) And now, all Defendants move to dismiss the SAC under Rule

 12(b)(6) and Rule 12(b)(7). Noshirvan correctly points out that

 “Defendants[’] first motion to dismiss failed to raise the[]

 [present] issues.” (Doc. #168, p. 6.) Nonetheless, Defendants are

 not precluded from raising the issues now because the issues were

 either previously unavailable or are exempted under Rule 12(h)(2).

        When plaintiff files a superseding amended complaint that

 becomes the operative pleading, Roy v. Ivy, 53 F.4th 1338, 1352

 (11th Cir. 2022), a defendant “will be allowed to plead anew in

 response to [the] amended complaint, as if it were the initial

 complaint, when the ‘amended complaint . . . changes the theory or

 scope of the case.’” Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194,

 1202 (11th Cir. 2011)(citation omitted.) “It simply would be unfair

 to allow the plaintiff to change the scope of the case without

 granting the defendant an opportunity to respond anew.”               Id.

        All of the SAC’s agency counts (Count 6 through Count 19) are

 new. The new agency counts came about because the Court found the

 previous   vicarious   liability    claim    failed    to    give    defendants

 proper notice of the claims against them. (See Doc. #130, pp. 9-

 10.)    “A party is not precluded from making a second motion based



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 on a defense that he or she did not have reasonable notice of at

 the time that party first filed a motion to dismiss or on a defense

 that became available only after a motion had been made under Rule

 12.” Charles Alan Wright & Arthur R. Miller, Federal Practice &

 Procedure § 1388 (3d ed.) Since Defendants’ current arguments as

 to the new agency claims were previously unavailable, it would be

 unfair to preclude them pursuant to Rule 12(g)(2).

       Moreover, Rule 12(h)(2) shields all of Defendants’ current

 arguments from being forfeited.               As the case cited by Plaintiff

 states,       “Rule   12(g)(2)      carves    out    two   exceptions     to   its

 consolidation requirement—those established in Rules 12(h)(2) and

 (3).” Brooks v. Warden, 706 F. App'x 965, 969 (11th Cir. 2017). 1

 “Under Rule 12(h)(2), [failure to state a claim and to join an

 indispensable party defenses] endure[] up to, but not beyond, trial

 on the merits . . . .” Arbaugh v. Y&H Corp., 546 U.S. 500, 507

 (2006).       Thus, even though omitted from the initial Rule 12 motion

 to dismiss, Defendants’ current arguments that the SAC fails to

 state     a   claim   and   fails   to   join   an   indispensable     party   are

 preserved pursuant to Rule 12(h)(2).




       1“Unpublished opinions are not controlling authority and are
 persuasive only insofar as their legal analysis warrants.” Bonilla
 v. Baker Concrete Const., Inc., 487 F.3d 1340, 1345 n.7 (11th Cir.
 2007).



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       Defendants did not forfeit their current arguments under Rule

 12(g)(2) and the Court will consider the arguments now.

                                       III.

       A non-party like Camp is not a defendant of any type.            Wilson

 v. Hearos, LLC, 128 F.4th 1254, 1259 (11th Cir. 2025). The absence

 of Camp as a party defendant prompts all defendants to move to

 dismiss under Rule 12(b)(7), arguing Camp is an indispensable party

 pursuant to Rule 19.

       Rule 19 sets out a two-step process to determine whether a

 party must be joined in the action.          Molinos Valle Del Cibao, C.

 por A. v. Lama, 633 F.3d 1330, 1344 (11th Cir. 2011); Focus on the

 Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1279 (11th

 Cir. 2003). “First, under Rule 19(a), the court determines whether

 the person in question is one who should be joined if feasible.

 Second, for all such necessary parties, a court determines whether

 the Rule 19(b) factors permit the litigation to continue if the

 party cannot be joined, or instead whether they are indispensable.”

 Winn-Dixie Stores, Inc. v. Dolgencorp, LLC, 746 F.3d 1008, 1039

 (11th Cir. 2014)(citations and internal punctuation omitted).

       Applying these principles, the Court finds that Camp is not

 a required party who must be joined in this proceeding.

       A. Defendants Fail To Satisfy Rule 19(a)

       Rule 19(a) provides in pertinent part:




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           (1) A person who is subject to service of process and
           whose joinder will not deprive the court of subject-
           matter jurisdiction must be joined as a party if:
           (A) in that person's absence, the court cannot accord
           complete relief among existing parties; or
           (B) that person claims an interest relating to the
           subject of the action and is so situated that disposing
           of the action in the person's absence may:
               (i) as a practical matter impair or impede the
               person's ability to protect the interest; or
               (ii) leave an existing party subject to a
               substantial risk of incurring double, multiple, or
               otherwise inconsistent obligations because of the
               interest.
 Fed. R. Civ. P. 19(a)(1). Defendants fail to satisfy Rule 19(a)

 because they do not show the Camp is needed to give the existing

 parties complete relief or that Camp has claimed an interest

 relating to the subject of this action.

         Defendants do not argue that Camp’s presence as a defendant

 is needed for the existing parties to get complete relief. Indeed,

 joint tortfeasors normally need not all be joined in one lawsuit.

 Laker Airways, 182 F.3d at 847. While there are exceptions to this

 general rule, see id. at 847-48, none have been shown to apply

 here.      Camp is not a required party under the first prong of Rule

 19(a) because the Court can accord complete relief without Camp’s

 presence. 2



       2While plaintiff has chosen not to sue Camp, a defendant has
 the ability to sue Camp as a third-party defendant. See Fed. R.
 Cv. P. 14.



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        Additionally, Defendants cannot satisfy Rule 19(a)’s second

 prong because Camp has not claimed an interest in this action.

 Defendants claim Camp has an interest in the subject matter of the

 case    because   he   is   an   active    participant       in   the   alleged

 wrongdoings. But Rule 19(a)’s explicit language makes clear that

 the second prong is “contingent . . . upon an initial requirement

 that the absent party claim a legally protected interest relating

 to the subject matter of the action.” Northrop Corp. v. McDonnell

 Douglas Corp., 705 F.2d 1030, 1043 (9th Cir. 1983)(emphasis added);

 Hickerson v. Enter. Leasing Co. of Georgia, LLC, 818 F. App'x 880,

 884 n.6 (11th Cir. 2020)(per curiam)(stating “the district court

 was not required by Rule 19 to allow [absent party]’s joinder,”

 partly because that party did not claim an interest). The Eleventh

 Circuit has explained how an absent party can claim an interest,

 F.D.I.C. v. First Am. Title Ins. Co., 611 F. App'x 522, 530 (11th

 Cir. 2015), but Camp has not done so.

        B. Defendants Fail To Satisfy Rule 19(b)

        Even if Camp is a required party pursuant to Rule 19(a),

 Defendants fail to carry their burden of establishing the second

 part of the test – that the four nonexclusive factors in Rule 19(b)

 require   dismissal    in   equity   and   good   conscience.      Rule   19(b)

 provides in pertinent part:

        If a person who is required to be joined if feasible
        cannot be joined, the court must determine whether, in
        equity and good conscience, the action should proceed



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       among the existing parties or should be dismissed. The
       factors for the court to consider include:
            (1) the extent to which a judgment rendered in the
            person's absence might prejudice that person or the
            existing parties;
            (2) the extent to which any prejudice could be
            lessened or avoided by:
                  (A) protective provisions in the judgment;
                  (B) shaping the relief; or
                  (C) other measures;
            (3) whether a judgment rendered in the person's
            absence would be adequate; and
            (4) whether the plaintiff would have an adequate
            remedy if the action were dismissed for nonjoinder.
 Fed. R. Civ. P. 19(b). These four nonexclusive factors “must

 be examined in each case to determine whether, in equity and

 good conscience, the court should proceed without a party

 whose absence from the litigation is compelled.” Provident

 Tradesmens Bank & Trust Co. v. Patterson, 390 U.S. 102, 109

 (1968).

       The distilled essence of these ‘criteria’ of subdivision
       (b) is the attempt to balance the rights of all
       concerned. The plaintiff has the right to ‘control’ his
       own litigation and to choose his own forum. This ‘right’
       is, however, like all other rights, ‘defined’ by the
       rights of others. Thus the defendant has the right to be
       safe from needless multiple litigation and from
       incurring avoidable inconsistent obligations. Likewise
       the interests of the outsider who cannot be joined must
       be considered. Finally there is the public interest and
       the interest the court has in seeing that insofar as
       possible the litigation will be both effective and
       expeditious.




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 Schutten    v.   Shell   Oil   Co.,   421   F.2d    869,      873   (5th    Cir.

 1970)(internal citation omitted). 3 “As the part[ies] invoking Rule

 19, it is [the Defendants’] burden to demonstrate which Rule 19(b)

 factors require[] dismissal ‘in equity and good conscience.’”

 Molinos Valle Del Cibao, 633 F.3d at 1347 (citation omitted).

       Defendants do not satisfy their burden of establishing which

 Rule 19(b) factor(s) require dismissal. In fact, the Defendants

 fail to mention any factors at all. At most, Defendants make

 barebones conclusory assertions that Camp’s absence “hinders the

 . . .      ability to defend the lawsuit” (Doc. #160, p. 4); or

 “fundamentally    undermines    Plaintiff’s     case    and    impairs     GPS’s

 ability to raise all available defenses to Plaintiff’s claims”

 (Doc. #161, p. 6); or “stymies his claims, and impairs Defendants’

 ability to raise all available defenses” (Doc. #162, p. 8.) This

 is insufficient under Rule 12(b)(7). See Molinos, 633 F.3d at 1347

 (refusing to further consider a Rule 12(b)(7) motion after party

 failed to discuss the Rule 19(b) factors).

       If anything, Rule 19(b) factors weigh against dismissal.

 Since Plaintiff asserts Camp’s current whereabouts are unknown and




       3The Eleventh Circuit “ha[s] adopted as binding precedent
 all Fifth Circuit decisions issued before October 1, 1981, as well
 as all decisions issued after that date by a Unit B panel of the
 former Fifth Circuit.” In re Forrest, 47 F.4th 1229, 1235 n.3 (11th
 Cir. 2022)(citing Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34
 (11th Cir. 1982)).



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 Defendants do not contest this, the Court is not assured Plaintiff

 can seek relief in a better forum. See Provident Tradesmens Bank

 & Tr. Co., 390 U.S. at 109 n.3 (explaining that “[t]he court should

 consider whether there is any assurance that the plaintiff, if

 dismissed, could sue effectively in another forum where better

 joinder would be possible.”) Second, both the public and this Court

 have an interest in the complete resolution of the controversy

 given the expenditure of resources invested in the year or so it

 has been pending. See Molinos, 633 F.3d at 1345; Provident, 390

 U.S. at 111. And third, as noted earlier, the interest of the

 Defendants may be protected by impleading Camp under Rule 14.

 Challenge Homes, Inc. v. Greater Naples Care Ctr., Inc., 669 F.2d

 667, 671 (11th Cir. 1982).

       Because neither Rule 19(a) nor Rule 19(b) require Camp’s

 joinder, Defendants’ Rule 12(b)(7) motions to dismiss are denied.

                                          IV.

       Defendants argue that the SAC must be dismissed because each

 count fails to state a claim upon which relief may be granted under

 Rule 12(b)(6). 4 The Court sets forth the appropriate pleading



       The exhibits attached to Plaintiff’s Responses (Docs. ##168-
       4

 170) are not considered by the Court in resolving the motions.
 “Pursuant to Rule 12(d) of the Federal Rules of Civil Procedure,
 when ruling on a Rule 12(b)(6) or 12(c) motion, a court generally
 may not consider matters outside of the pleadings without treating
 the motion as a motion for summary judgment,” unless one of two
 exceptions apply: “(1) the incorporation-by-reference doctrine
 [or] (2) judicial notice.” Johnson v. City of Atlanta, 107 F.4th


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 standards and then begins with addressing the sufficiency of the

 four conspiracy claims.

        A. Rule 12(b)(6) Standard of Review

        Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

 must contain a “short and plain statement of the claim showing

 that the pleader is entitled to relief.”          Fed. R. Civ. P. 8(a)(2).

 This obligation “requires more than labels and conclusions, and a

 formulaic recitation of the elements of a cause of action will not

 do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation

 omitted).       To survive dismissal, the factual allegations must be

 “plausible” and “must be enough to raise a right to relief above

 the speculative level.”         Id. at 555.     See also Edwards v. Prime

 Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).             This requires “more

 than       an       unadorned,       the-defendant-unlawfully-harmed-me

 accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations

 omitted).

        In deciding a Rule 12(b)(6) motion to dismiss, the Court must

 accept all factual allegations in a complaint as true and take

 them in the light most favorable to plaintiff. Erickson v. Pardus,

 551 U.S. 89 (2007).         “Legal conclusions without adequate factual

 support are entitled to no assumption of truth.” Mamani v. Berzain,



 1292, 1298 (11th Cir. 2024)(quoting Baker v. City of Madison,
 Alabama, 67 F.4th 1268, 1276 (11th Cir. 2023)). Plaintiff has not
 established that either exception applies to his exhibits.



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 654     F.3d    1148,    1153     (11th      Cir.     2011)     (citations       omitted).

 “Threadbare      recitals        of    the   elements    of     a    cause    of    action,

 supported by mere conclusory statements, do not suffice.” Iqbal,

 556 U.S. at 678.         “Factual allegations that are merely consistent

 with     a   defendant’s     liability         fall     short       of   being     facially

 plausible.”      Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th

 Cir. 2012) (citations omitted).               Thus, the Court engages in a two-

 step approach: “When there are well-pleaded factual allegations,

 a court should assume their veracity and then determine whether

 they plausibly give rise to an entitlement to relief.”                           Iqbal, 556

 U.S. at 679.

         B. Conspiracy Counts

         Plaintiff begins the SAC claims by setting out four civil

 conspiracy claims against all seventeen defendants: conspiracy to

 tortiously      interfere       with     a   business    relationship         (Count    2);

 conspiracy       to     commit        defamation      (Count     3);      conspiracy     to

 intentionally inflict emotional distress (IIED) (Count 4); and

 conspiracy to misappropriate Noshirvan’s likeness (Count 5). All

 Defendants argue that the conspiracy counts must be dismissed

 because the SAC is a shotgun pleading which fails to sufficiently

 plead the elements of civil conspiracy and the conspiracy counts

 fail to meet the particularity requirements of Fed. R. Civ. P.

 9(b).

                1. The Conspiracy Counts are Shotgun Counts



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       All Defendants argue that the SAC should be dismissed as a

 shotgun pleading. The Court agrees that the conspiracy counts are

 part of a shotgun pleading.

       Shotgun pleadings violate Rule 8(a)(2)’s “short and plain

 statement” requirement by “fail[ing] to one degree or another . .

 . to give the defendants adequate notice of the claims against

 them and the grounds upon which each claim rests.”                    Weiland v.

 Palm Beach Cnty. Sheriff's Off., 792 F.3d 1313, 1323 (11th Cir.

 2015). See also Muscogee (Creek) Nation v. Rollin, 119 F.4th 881,

 888 (11th Cir. 2024); Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291,

 1294–95 (11th Cir. 2018). At issue here is the fourth type of

 shotgun pleading, which is one that “assert[s] multiple claims

 against    multiple   defendants     without       specifying     which      of   the

 defendants are responsible for which acts or omissions, or which

 of the defendants the claim is brought against.” Weiland, 792 F.3d

 at 1323.

       “The allegation that ‘[t]he Defendants’ [engaged in certain

 conduct]” falls under the fourth type of shotgun pleading when

 there are multiple defendants but not all of them could have

 realistically    participated       in    the    complained      of   act.    Auto.

 Alignment & Body Serv., Inc. v. State Farm Mut. Auto. Ins. Co.,

 953 F.3d 707, 732 (11th Cir. 2020). In contrast, a pleading with

 multiple    defendants      which   alleges     the    defendants     engaged      in

 certain conduct does not fall under the fourth type of shotgun



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 pleading “when ‘[t]he complaint can be fairly read to aver that

 all defendants are responsible for the alleged conduct,” Id.

 (alteration in original)(quoting Kyle K. v. Chapman, 208 F.3d 940,

 944 (11th Cir. 2000)).

        The SAC names seventeen defendants and repeatedly alleges

 that “Defendants” engaged in certain conduct. For example, Count

 3 alleges in part that “Defendants maliciously published or caused

 to be published, [sic] false statements stating that Noshirvan

 ‘rapes   his    own   child’    and   ‘caused    a   14-year-old      to   commit

 suicide.’” (Doc. #139, ¶ 166.) Count 4 alleges in part that

 “Defendants . . . sent Noshirvan pictures of himself and [his]

 child in his yard.” (Id. ¶ 177.) Count 5 alleges in part that

 “Defendants maliciously printed, published, and displayed at least

 two distinct types of flyer advertisements . . . .” (Id. ¶ 186.)

        But the SAC cannot be fairly read to allege that all the

 seventeen defendants published statements that Noshirvan rapes his

 own child, sent pictures to Noshirvan, and printed and displayed

 at least two flyers. As to the rape statement, other parts of the

 SAC allege it was Camp who made the statement. (Id. ¶¶ 215, 229,

 244, 260, 275, 295, 490, 515.) No other instance of a publication

 is alleged. This “provide[s] reason to doubt that each” Defendant

 made   the     publication. Auto.     Alignment,953       F.3d   at   733.   The

 incidents regarding the flyers and the pictures allegedly occurred

 in Pennsylvania circa May 2022 (see Doc. #139 ¶¶ 120, 124, 145) by



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 Couture     and   Garramone.    (Id.   ¶    124.)    Temporal    and    geographic

 realities, along with a fair reading of the SAC, negate the general

 assertions that all seventeen defendants were in Pennsylvania

 circa May 2022 engaging in that conduct.

       Defendants seek dismissal with prejudice since Plaintiff’s

 complaint has previously been dismissed as a shotgun pleading. But

 the prior shotgun pleading dismissal dealt with the agency counts,

 not   the    conspiracy     counts.    Since    Plaintiff       has   not    had   an

 opportunity       to   amend   these    shotgun      pleading     defects,        this

 dismissal will be without prejudice.

       Although     the   conspiracy    counts       merit   dismissal       for   this

 reason alone, the Court will also analyze whether each otherwise

 fails to state a claim.

              2. Conspiracy Pleading Principles

       “To state a cause of action for civil conspiracy, a plaintiff

 must plead ‘(1) an agreement between two or more parties; (2) to

 do an unlawful act or a lawful act by unlawful means; (3) the

 execution of some overt act in pursuance of the conspiracy; and

 (4) damage to the plaintiff as a result of said acts.’”                     Logan v.

 Morgan, Lewis & Bockius LLP, 350 So. 3d 404, 412 (Fla. 2d DCA

 2022)(citations omitted). The Logan court continued that:

              [i]n pleading conspiracy, the plaintiff must
              further identify an actionable underlying tort
              or wrong. This is because there is no
              freestanding cause of action in Florida for
              civil conspiracy. Rather, the conspiracy is



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             merely the vehicle by which the underlying
             tort was committed, and the allegations of
             conspiracy permit the plaintiff to hold each
             conspirator jointly liable for the actions of
             the    coconspirators.     Significantly,    a
             conspirator need not take part in the
             planning, inception, or successful conclusion
             of a conspiracy. The conspirator need only
             know of the scheme and assist in it in some
             way to be held responsible for all of the acts
             of his coconspirators.

 Id. Some leeway, however, is usually allowed in pleading a civil

 conspiracy claim:

                   Although plaintiffs may be unable to
             allege specific facts proving actual acts of
             agreement or conspiracy, the pleadings are
             sufficient if they set forth facts from which
             an inference of unlawful agreement can be
             drawn. Actual agreements are seldom capable of
             proof    by   direct   testimony    and   thus
             circumstantial evidence may be allowed to
             establish an alleged conspiracy. Plaintiffs
             cannot be required to plead with specificity
             the very facts which can only be proven by
             circumstantial evidence.

 Brett v. First Fed. Sav. & Loan Ass'n, 461 F.2d 1155, 1158 (5th

 Cir. 1972)(internal citations omitted). 5 Nonetheless, “a claim for

 civil     conspiracy   must    contain     clear,   positive    and   specific

 allegations;     general      allegations      of    conspiracy       are   not

 sufficient.” Parisi v. Kingston, 314 So. 3d 656, 661 (Fla. 3d DCA




       An exception to conspiracy pleading leeway exists under Fed.
       5

 R. Civ. P. 9(a) when the object of the conspiracy is fraud. Am.
 United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1065 (11th Cir.
 2007). No such fraud conspiracy is asserted in the SAC.



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 2021) (citing World Class Yachts, Inc. v. Murphy, 731 So. 2d 798,

 799 (Fla. 4th DCA 1999)).

             3. Plausible Conspirators

        The SAC only plausibly alleges five conspirators: Couture;

 Garramone; Trainor; Trainor Law; ADL; and Central Park. Couture

 and   Garramone    allegedly      spread      flyers     of   Noshirvan.      Trainor,

 Trainor    Law,   and    the   ADL    allegedly        published    a   billboard   of

 Noshirvan.     Additionally, Trainor and the ADL allegedly created

 social media profiles to recruit others to harass Noshirvan.

 Central Park allegedly housed Garramone, Couture, Camp, and others

 so they could harass Noshirvan. These are sufficiently pled facts

 to    plausibly   infer    that      these    defendants      conspired    to    wrong

 Noshirvan. 6

        Nothing in the conspiracy counts plausibly alleges that any

 of the remaining defendants knew of a scheme and assisted in some

 way. The remaining defendants (Ralph Garramone M.D. P.A. D/B/A

 Garramone      Plastic     Surgery;          Wraith,     LLC;      Sullivan     Street

 Investments, LLC; Hairpin Turn, LLC; OMG Realty, LLC; R G Weight




        Trainor, Trainor Law, the ADL, and Central Park also argue
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 that the civil conspiracy counts fail because they allege that
 Camp is their agent. (See Doc. #162, pp. 12-13.) While it is true
 that “neither an agent nor an employee can conspire with his or
 her corporate principal or employer,” Mancinelli v. Davis, 217 So.
 3d 1034, 1036 (Fla. 4th DCA 2017)), Plaintiff can and has plead in
 the alternative. (See Doc. #139, ¶ 110.) Additionally, a civil
 conspiracy claim may be sufficiently pled with or without Camp.



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 Management, LLC; Central Park South, LLC; Brantlee, LLC; Legacy of

 Marie Garramone, LLC; Garramone Marketing, Inc.; and 5681 Division

 LLC) are dismissed without prejudice from the four conspiracy

 counts.

             4. Count 2: Tortious Interference Conspiracy

       Count 2 alleges that all Defendants (and unnamed others)

 conspired    to   tortiously    interfere          with      Noshirvan’s    business

 relationships with his social media platforms, donors, and former

 lawyer. Count 2 asserts that Noshirvan had “monetized business

 relationships” with several social media platforms and that all

 Defendants (and unnamed others) agreed to participate in a campaign

 to   “deplatform”       Noshirvan    to    cause       his    financial     ruin    by

 unjustifiably     interfering       with       these   business      relationships.

 Specifically,     all    Defendants    allegedly        made      false   reports   of

 misconduct to the social media platforms of his accounts; Camp

 sent harassing and threatening emails to Noshirvan’s donors, which

 caused the donors to withdraw their support and caused Noshirvan

 to lose lucrative business relationships and future income; and

 Camp harassed, threatened, extorted, and coerced Noshirvan’s prior

 lawyer to withdraw as his counsel. Noshirvan seeks actual and

 punitive damages. (Doc. #139, ¶¶ 153-161.)

                   (a)    Tortious Interference Elements

       Under Florida law, “[t]he elements of tortious interference

 with a business relationship are (1) the existence of a business



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 relationship[;] (2) knowledge of the relationship on the part of

 the defendant; (3) an intentional and unjustified interference

 with the relationship by the defendant; and (4) damage to the

 plaintiff as a result of the breach of the relationship.” Ethan

 Allen, Inc. v. Georgetown Manor, Inc., 647 So.2d 812, 814 (Fla.

 1994). The alleged business relationship need not be evidenced by

 an enforceable contract, but it must be “a relationship with a

 particular party, and not just a relationship with the general

 business community.” Dunn v. Air Line Pilots Ass'n, 193 F.3d 1185,

 1191 (11th Cir. 1999)(citing Ethan Allen, Inc., 647 So.2d at 814).

 Each specified business relationship must be “evidenced by an

 actual and identifiable understanding or agreement which in all

 probability would have been completed if the defendant had not

 interfered.” Ethan Allen, Inc., 647 So.2d at 815. Accordingly,

 there is a cause of action for tortious interference “with existing

 or prospective customers but no cause of action . . . [with] the

 community at large.” Id.

                  (b)   Sufficiency of Count 2

       Defendants argue that Count 2 fails to state a claim because

 the allegations do not plausibly show the existence of any business

 relationship. The Court agrees that Count 2 falls to sufficiently

 allege that Noshirvan had legal or contractual rights with his

 social media accounts, donors, or former attorney.




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       In Illoominate Media, Inc. v. CAIR Fla., Inc., 841 F. App'x

 132, 137 (11th Cir. 2020), a self-proclaimed journalist alleged

 that outsiders interfered with her social media account and her

 followers/donors of that account. The Eleventh Circuit held that

 the   relationship    with    the   followers/donors,        “no   matter      how

 economically    beneficial     that   relationship      might      be,”   is     a

 relationship with “the general public” that Florida does not

 recognize as constituting a tortious interference cause of action.

 841 F. App'x at 137. As to the social media platforms themselves,

 the Eleventh Circuit held that users tend to not have any “legal

 or contractual rights in the continued use of [the] account[s]”

 because the Terms of Service allow the social media platforms to

 ban users for any reason at all. Id.

       The Court finds this decision persuasive. The Court takes

 judicial notice that all the social media platforms identified in

 the SAC have Terms of Service in place which allow the platforms

 to ban users like Noshirvan for any reason. 7                The SAC fails to




       7See https://x.com/en/tos (“To the extent permitted by law,
 we may also terminate your account or cease providing you with all
 or part of the Services for any other reason or no reason at our
 convenience.”); https://buymeacoffee.com/terms (“We may modify or
 discontinue the Services at any time, in our sole discretion.”);
 https://www.tiktok.com/legal/page/us/terms-of-service/en      (“We
 reserve the right to disable your user account at any time . . .
 .”); https://www.patreon.com/policy/legal#account-deletion (“We
 can terminate or suspend your account at any time at our sole
 discretion.”).



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 plausibly plead the existence of a business relationship with these

 entities.

       As    to   Noshirvan’s   former     lawyer,   “[t]here     must    be    a

 relationship in existence at the time of any alleged interference.”

 Bernstein v. True, 636 So. 2d 1364, 1366 (Fla. 4th DCA 1994).                 The

 SAC does not allege any specific agreement between the attorney

 and Noshirvan, or that any agreement was in existence at the time

 of the alleged interference. Quite the opposite, the SAC alleges

 that the lawyer was “Noshirvan’s prior lawyer . . . .” (Doc. #139

 at ¶ 159.). This is not sufficient to state a claim.                     E.g.,

 Kassenoff v. Harvey, No. 3:23CV24085-TKW-ZCB, 2024 WL 562738, at

 *8 (N.D. Fla. Feb. 8, 2024)(holding complaint that only alleged

 plaintiff had “‘represented’ (past tense) many clients” did not

 suffice for a tortious interference with business relationships

 claim.).

       Count 2 is dismissed without prejudice as to all defendants

 as it relates to Noshirvan’s alleged business relationship with

 the former lawyer, since Noshirvan might be able to state a claim

 and has not had a previous opportunity to amend this aspect of the

 claim. Count 2 is otherwise dismissed with prejudice as to all

 defendants because amendment would be futile.

             5. Count 3:     Defamation Conspiracy

       Count 3 alleges that all Defendants conspired to defame

 Noshirvan by maliciously publishing or causing to be published:



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 flyers with Noshirvan’s face and the words “Have you seen this

 predator?”;     false       statements          describing       Noshirvan        as     a

 “pedophile,”    “child      groomer,”        “stalker,”       “sextortionist,”         and

 “blackmailer”; false statements that Noshirvan “rapes his own

 child” and “caused a 14-year-old to commit suicide”; a billboard

 depicting Noshirvan’s face and the words “doxing is violent”; fake

 flyers with pictures of Noshirvan and his wife and their personal

 contact     information      for      a      “swingers       party”;     and     calling

 Noshirvan’s wife a “wh**e” on social media.                   Count 3 also alleges

 that Defendants intentionally reported false child abuse to Child

 Protective     Services     on     three      occasions,      and    then      published

 statements regarding the false reports on social media to harm

 Noshirvan’s     reputation.        Noshirvan        seeks    actual     and     punitive

 damages.    (Doc. #139, ¶¶ 162-73.)

                   (a)     Defamation Elements

       “To prevail on a defamation claim, a public-figure plaintiff

 must prove (1) publication by the defendant, (2) of a false

 statement, (3) with knowledge or reckless disregard as to the

 falsity (i.e., “actual malice”), (4) which causes actual damages,

 and (5) is defamatory.”          Flynn v. Wilson, 398 So. 3d 1103, 1110-

 11 (Fla. 2d DCA 2024). Thus, “a public figure bringing a defamation

 suit must plausibly plead actual malice in accordance with the

 requirements    set     forth    in    Iqbal    and     Twombly.”      Michel    v.    NYP

 Holdings,    Inc.,    816   F.3d      686,    702    (11th    Cir.     2016).    Whether



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 Plaintiff is a public figure is a question of law.                   Mishiyev v.

 Davis, No. 2D2023-1242, 2025 WL 352652, at *5 (Fla. 2d DCA Jan.

 31, 2025).

       “[T]o     survive   a   motion   to    dismiss,       [plaintiff]   had     to

 plausibly allege in its amended complaint ‘facts sufficient to

 give rise to a reasonable inference that the false statement was

 made with knowledge that it was false or with reckless disregard

 of whether it was false or not.’” Veritas v. Cable News Network,

 Inc., 121 F.4th 1267, 1283 (11th Cir. 2024)(quoting Michel, 816

 F.3d at 702). See also Turner v. Wells, 879 F.3d 1254, 1273 (11th

 Cir. 2018). “An intention to portray a public figure in a negative

 light, even when motivated by ill will or evil intent, is not

 sufficient to show actual malice unless the publisher intended to

 inflict harm through knowing or reckless falsehood.” Don King

 Prods., Inc. v. Walt Disney Co., 40 So. 3d 40, 45 (Fla. 4th DCA

 2010).

                    (b)    Sufficiency of Count 3

       A defamation claim must allege actual malice when plaintiff

 is a public figure.       New York Times Co. v. Sullivan, 376 U.S. 254

 (1964).   All    Defendants    argue   that    Count    3    fails   to   state   a

 defamation claim because it fails to sufficiently allege actual

 malice even though Plaintiff is clearly a public figure based on

 his own description of himself in the SAC.




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       “Malice,   intent,     knowledge,     and   other       conditions   of   a

 person’s mind may be alleged generally.”             Fed. R. Civ. P. 9(b).

 “But ‘generally’ is a relative term” which excuses a party from

 pleading malice under an elevated pleading standard but does not

 allow him to evade the “short and plain statement of the claim”

 requirement in Rule 8(a).      Iqbal, 556 U.S. at 686–87.          While “legal

 conclusions can provide the framework of a complaint” they “must

 be supported by factual allegations.”          Id. at 679.

       Count 3 alleges that Defendants “maliciously” published or

 caused to be published the various false statements.                (Doc. #139,

 ¶¶ 164-66, 169-70.)      It further alleges that Defendants knew these

 statements were not true but acted with reckless disregard of the

 truth.    (Id. ¶ 167.)        Additionally, Noshirvan seeks punitive

 damages because Defendants “acted maliciously, wantonly, or with

 a recklessness suggestive of an improper motive or vindictiveness,

 . . ..”   (Id. ¶ 173.)      These allegations provide the framework for

 the claim, and the remainder of the SAC adds sufficient facts to

 satisfy the plausibility standard.          At the pleading stage, this is

 sufficient for actual malice.       The motions to dismiss Count 3 for

 failure to sufficiently allege actual malice are denied.

            6. Count 4: IIED Conspiracy

       In Count 4, the SAC alleges that all Defendants “swatted”

 Noshirvan; sent Noshirvan pictures of Noshirvan and his child in

 their yard; mentioned in social media posts that cameras were



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 placed illegally in public areas to watch Noshirvan; and made false

 reports made to Child Protective Services. This conduct is alleged

 to have caused Noshirvan’s wife and child to temporarily move out

 of their home and to have inflicted severe emotional distress on

 Noshirvan.

       Defendants argue that this claim must be dismissed because

 its factual overlap with the defamation conspiracy claim violates

 Florida’s single action/single publication rule. Defendants also

 argue that the conduct alleged is not sufficiently outrageous to

 qualify as an IIED claim.

                   (a)   Florida Single Publication Rule

       As a Florida court has recently summarized:

              In Florida, a single publication gives rise to
              a   single  cause   of   action.  The   single
              publication/single action rule does not permit
              multiple actions when they arise from the same
              publication upon which a failed defamation
              claim is based. The rule is designed to
              prevent plaintiffs from circumventing a valid
              defense to defamation by recasting essentially
              the same facts into several causes of action
              all meant to compensate for the same harm. The
              rule precludes the recasting of defamation
              claims as additional, distinct causes of
              action in tort if all of the claims arise from
              same defamatory publication.

 Mishiyev v. Davis, 402 So. 3d 443, 453 (Fla. 2d DCA 2025)(internal

 punctuation and citations omitted). The rule does not apply,

 however, if separate causes of action “are properly pled upon the




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 existence of independent facts.” Fridovich v. Fridovich, 598 So.

 2d 65, 70 (Fla. 1992).

        The only overlapping fact between the defamation conspiracy

 count and the IIED conspiracy count is the alleged false reports

 to Child Protective Services. Plaintiff asserts that this portion

 of the claim is “based upon independent fact[s]” because “public

 solicitation to report child abuse can be defamatory while actual

 reporting and undergoing an abuse investigation can be emotionally

 stressful.” (Doc. #168, p. 20.) But the SAC’s own clear language

 refutes      Plaintiff’s     arguments       since   it   shows     that   both    the

 defamation conspiracy claim and the IIED conspiracy claim are at

 least partly based on the allegedly false reporting to Child

 Protective Services, not on solicitation to report. (Compare Doc.

 #139, ¶ 168 (“Defendants intentionally reported false child abuse

 to Child Protective Services . . . .”, with Doc. #139, ¶ 178 “As

 a result of Defendants[’] . . . false reports to Child Protective

 Services . . . .”)). The IIED claim and the defamation claim are

 therefore both partly based on the same publication.

        The IIED claim is not saved from the single publication rule

 simply because the defamation claim has survived. See Emergency

 Recovery, Inc. v. Gov't Emps. Ins. Co., No. 8:23-CV-957-KKM-AEP,

 2025    WL     938682   at     *11     (M.D.     Fla.     Mar.      28,    2025)(J.,

 Mizelle)(explaining        that      while    the    single       publication     rule

 generally requires a defamation claim to have failed to bar other



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 torts, this does not apply to the tort of intentional infliction

 of emotional distress). Plainly, “a plaintiff cannot transform a

 defamation action into a claim for intentional infliction of

 emotional distress simply by characterizing the alleged defamatory

 statements as ‘outrageous.’” Fridovich, 598 So. 2d at 70. The

 portion   of     paragraph    178     alleging        “false   reports        to      Child

 Protective Services” is stricken and that portion of the claim is

 dismissed    with    prejudice.     The    defamation      conspiracy           and     IIED

 conspiracy      claims    otherwise    rely      on    distinct        facts,      so   the

 remainder of the IIED conspiracy claim in Count 4 is unaffected by

 the single publication rule.

                     (b)   Not Sufficiently Outrageous Conduct

       All defendants also argue that Count 4 must be dismissed

 because   the    alleged     conduct      does   not    rise      to    the   level      of

 outrageousness necessary to support a claim of IIED conspiracy.

 The Court agrees.

       Florida recognizes the tort of IIED.               Metro. Life Ins. Co. v.

 McCarson, 467 So. 2d 277, 278 (Fla. 1985). To establish a claim

 for IIED, plaintiff must allege and ultimately prove:

             (1) the wrongdoer's conduct was intentional or
             reckless, that is, he intended his behavior
             when he knew or should have known that
             emotional distress would likely result;

             (2) the conduct was outrageous, that is, as to
             go beyond all bounds of decency, and to be
             regarded as odious and utterly intolerable in
             a civilized community;



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            (3) the conduct caused emotional distress; and

            (4) the emotional distress was severe.

 Glegg v. Van Den Hurk, 379 So. 3d 1171, 1174 (Fla. 4th DCA 2024).

       The question of whether conduct is sufficiently outrageous to

 support an IIED claim is a question of law. Id.                    Florida has

 adopted Section 46, Restatement (Second) of Torts (1965) as the

 appropriate definition of the required conduct:

            d. Extreme and outrageous conduct . . . . It
            has not been enough that the defendant has
            acted with an intent which is tortious or even
            criminal, or that he has intended to inflict
            emotional distress, or even that his conduct
            has been characterized by “malice,” or a
            degree of aggravation which would entitle the
            plaintiff to punitive damages for another
            tort. Liability has been found only where the
            conduct has been so outrageous in character,
            and so extreme in degree, as to go beyond all
            possible bounds of decency, and to be regarded
            as atrocious, and utterly intolerable in a
            civilized community. Generally, the case is
            one in which the recitation of the facts to an
            average member of the community would arouse
            his resentment against the actor, and lead him
            to exclaim, “Outrageous!”

 Metro. Life Ins. Co. v. McCarson, 467 So. 2d 277, 279 (Fla. 1985).

 Thus,   “[l]iability   .    .   .   does   not   extend   to    mere   insults,

 indignities, threats, or false accusations.” Williams v. Worldwide

 Flight SVCS., Inc., 877 So. 2d 869, 870 (Fla. 3d DCA                2004).

       The remaining allegations in Count 4 are that Defendants

 “swatted” Noshirvan; sent Noshirvan pictures of Noshirvan and his

 child in their yard; and mentioned in social media posts that

 cameras were placed illegally in public areas to watch Noshirvan.


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 As a matter of law, none of these allegations set forth conduct

 which is sufficiently outrageous to qualify for an IIED claim.

 For this reason, Count 4 is dismissed without prejudice.

              7. Count 5:    Appropriation of Likeness Conspiracy

       Count 5 asserts a claim against all Defendants for conspiracy

 to appropriate likeness for commercial purposes.                  Defendants are

 alleged to have participated in an advertising campaign for the

 purpose   of   ruining     Noshirvan’s      reputation    and     destroying   him

 financially.     All     Defendants   are    alleged     to     have   maliciously

 printed, published, displayed, and/or disseminated three types of

 commercial advertisements: (1) at least two distinct flyers, (2)

 a billboard, and (3) “commercials” (apparently a reference to

 pennysaver       ads),     all    containing       Noshirvan’s         face    and

 ThatDaneshGuy’s likeness without Noshirvan’s consent.                  (Doc. #139,

 ¶¶ 184-193.)

            (a)    Appropriation of Likeness Elements

       In addition to common law rights and remedies for invasion of

 privacy, Florida has a statutory cause of action for commercial

 appropriation of likeness.        Jews For Jesus, Inc. v. Rapp, 997 so.

 2d 1098, 1103 n.6 (Fla. 2008)(citing Fla. Stat. § 540.08). The

 statute provides in relevant part: “No person shall publish, print,

 display or otherwise publicly use for purposes of trade or for any

 commercial or advertising purpose the name, portrait, photograph,

 or other likeness of any natural person without the express written



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 or oral consent to such use given by” certain designated persons.

 Fla. Stat. § 540.08(1). “[T]he term ‘commercial purpose’ as used

 in section 540.08(1) does not apply to publications . . . which do

 not directly promote a product or service.”               Tyne v. Time Warner

 Entm't Co., L.P., 901 So. 2d 802, 810 (Fla. 2005).

             (b)     Lawful Commercial Purpose

       All Defendants argue that Count 5 fails to state a claim

 because it fails to allege the publications were for a commercial

 purpose.    The     Court   agrees.    Count     5   explicitly       states   the

 publications were done “for the purpose of ruining [Noshirvan’s]

 reputation and destroying him financially.” (Doc. #139, ¶ 185.)

 That does not allege the purpose of the publications was to

 directly promote a product or service. Stating some singular

 unspecified       “advertisement”     was    published     for    a   “commercial

 purpose” elsewhere in the SAC does not suffice, despite Plaintiff’s

 argument to the contrary. It is conclusory and does sufficiently

 give any Defendant notice of the claim against them. Count 5 is

 dismissed without prejudice because the count does not allege a

 commercial or advertising purpose.

       C. The “Agency” Counts

       The   SAC    self-identifies     the    remaining     counts,     Counts    6

 through 15 and 17 through 18, as “agency” claims for the same

 underlying torts discussed above—i.e., tortious interference with

 a business relationship, defamation, IIED, and misappropriation of



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 likeness. (Doc. #139, p. 2.) The “agency” counts for tortious

 interference      with      a     business         relationship,           IIED,      and

 misappropriation of likeness suffer from the same defects as their

 civil   conspiracy    counterparts.          The    “agency”        counts    for    IIED

 (Counts 12 and 13) are therefore dismissed without prejudice,

 except as to the allegation of false reports to Child Protective

 Services, which is dismissed with prejudice. The “agency” count

 for tortious interference with a business relationship (Count 14)

 is dismissed with prejudice as to Noshirvan’s social media accounts

 and subscribers/donors but without prejudice as to Noshirvan’s

 prior lawyer.     The “agency” count for misappropriation of likeness

 (Count 16) is dismissed without prejudice. That leaves only the

 “agency” defamation Counts, (Counts 6 through 11 and 17 through

 18), all seeking to attribute liability to varying defendants for

 the alleged defamatory actions of Camp.

       Those defendants all argue that these remaining Counts must

 be dismissed because they fail to plausibly plead agency. Among

 other things, they argue that control, scope of employment, and

 reliance    are    insufficiently           plead.       Noshirvan         devotes     an

 insubstantial     paragraph        in      response.       Liberally         construed,

 Noshirvan   counters       in    conclusory        fashion     that       these    counts

 plausibly plead actual agency, ratification, and/or aiding and

 abetting.   The    Court    sets     out    the     standard        for    each    before

 addressing the sufficiency of the allegations.



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              1. Actual Agency

       “Essential to the existence of an actual agency relationship

 is (1) acknowledgment by the principal that the agent will act for

 him, (2) the agent's acceptance of the undertaking, and (3) control

 by the principal over the actions of the agent.” Goldschmidt v.

 Holman, 571 So.2d 422, 424 n.5 (Fla. 1990).                 See also Moore v.

 Toub, 398 So. 3d 1151, 1154 (Fla. 5th DCA 2024); Font v. Stanley

 Steemer Int'l, Inc., 849 So. 2d 1214, 1216 (Fla. 5th DCA 2003).

 “The key element in establishing actual agency is the control by

 the principal over the actions of the agent. And it is the right

 of control, not actual control or descriptive labels employed by

 the parties, that determines an agency relationship.”                 Hickman v.

 Barclay's Intern. Realty, Inc., 5 So. 3d 804, 806 (Fla. 4th DCA

 2009)(citations omitted).           If the purported principal’s right to

 control extends to the manner and means by which a task is to be

 performed,     the   person    is    an    agent   and   not    an   independent

 contractor, and vicarious liability may attach. Font, 849 So. 2d

 at 1216.     Florida considers the following non-exhaustive factors

 to determine whether a purported principal had the right to control

 an agent:

             (a) the extent of control which, by the
             parties' agreement, the employer exercises
             over the details of the work; (b) whether or
             not the one employed is engaged in a distinct
             occupation or business; (c) the kind of
             occupation, with reference to whether, in the
             locality, the work is usually done under the



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            direction of the employer or by a specialist
            without supervision; (d) the skills required
            in the particular occupation; (e) whether the
            employer   or   the    workman   supplies   the
            instrumentalities, tools, and the place of
            work; (f) the length of time for which the
            person is employed; (g) the method of payment,
            whether by the time or by the job; (h) whether
            or not the work is part of the regular business
            of the employer; (i) whether or not the
            parties believe that they are creating the
            relation of master and servant; and (j)
            whether the principal is or is not a business.

 Carlson v. FedEx Ground Package Sys., Inc., 787 F.3d 1313, 1319

 (11th Cir. 2015). See also Ware v. Money-Plan Int'l, Inc., 467 So.

 2d 1072, 1074 (Fla. 2d DCA 1985).          Additionally,

            [g]eneral principles of vicarious liability
            establish that a principal is responsible for
            the wrongful acts of its agent if the agent
            was either acting (1) within the scope of [its
            authority], or (2) during the course of [the
            agency] and to further a purpose or interest
            of the [principal].

            An [agent's] conduct is within the scope of
            his employment, for purposes of determining [a
            principal's] vicarious liability to third
            persons injured by the [agent], if the
            conduct: (1) is of the kind the [agent] is
            hired to perform, (2) occurs substantially
            within the time and space limits authorized or
            required by the work to be performed, and (3)
            is activated at least in part by a purpose to
            serve the [principal].

            A principal may also be liable for the acts of
            its agent which were outside the scope of the
            agent's    authority    if    the    principal
            subsequently ratifies the actions.

 K Co. Realty LLC v. Pierre, 376 So. 3d 730, 734 (Fla. 4th DCA

 2023)(internal citations and punctuation omitted).



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              2. Ratification

       “[A] principal may be still be liable for the acts of its

 agent which were outside the scope of the agent's authority if the

 principal     subsequently     ratifies      the    actions.”       Trevarthen     v.

 Wilson, 219 So. 3d 69, 72 (Fla. 4th DCA 2017). “It is a fundamental

 proposition of the law of agency that a principal may subsequently

 ratify its agent's act, even if originally unauthorized, and such

 ratification relates back and supplies the original authority.”

 Kumar Corp. v. Nopal Lines, Ltd., 462 So. 2d 1178, 1185 (Fla. 3d

 DCA 1985).    “Ratification, as applied to the law of agency, is the

 adoption or affirmance by a principal of the acts of his agent,

 either   expressly,   as     by   a   written      act,   or     impliedly,   as   by

 acceptance of the benefits of the” the agent’s actions.                    Spurrier

 v. United Bank, 359 So. 2d 908, 910 (Fla. 1st DCA 1978).                   See also

 K Co. Realty LLC, 376 So. 3d at 734.

       “Ratification cannot occur unless the principal has ‘full

 knowledge of all material facts and circumstances relating to the

 unauthorized act or transaction at the time of the ratification.’”

 ABC Salvage, Inc. v. Bank of Am., N.A., 305 So. 3d 725, 729 (Fla.

 3d DCA 2020)(citations omitted). “Ratification of an agent's prior

 unauthorized actions occurs when the principal is fully informed

 of the agent's act and affirmatively manifests an intent to approve

 that act.” Stalley v. Transitional Hosps. Corp. of Tampa, 44 So.

 3d 627, 631 (Fla. 2d DCA 2010). Constructive knowledge does not



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 satisfy the fully informed requirement, Bach v. Fla. State Bd. of

 Dentistry, 378 So. 2d 34, 36 (Fla. 1st DCA 1979), and the failure

 to   act       does   not   satisfy    the     affirmative     action      requirement.

 Stalley, 44 So. 3d at 631. Whether an agent's act has been ratified

 by the principal is a question of fact. Deutsche Credit Corp. v.

 Peninger, 603 So. 2d 57, 58–59 (Fla. 5th DCA 1992).

                 3. Aiding and Abetting

       “To state a claim for aiding and abetting a tort in Florida,

 a plaintiff must allege: ‘(1) an underlying violation on the part

 of the primary wrongdoer; (2) knowledge of the underlying violation

 by   the       alleged   aider   and    abetter;     and   (3)       the   rendering   of

 substantial assistance in committing the wrongdoing by the alleged

 aider and abettor.” Taubenfeld v. Lasko, 324 So. 3d 529, 543–44

 (Fla. 4th DCA 2021)(quoting Lawrence v. Bank of Am., N.A., 455

 Fed. Appx. 904, 906 (11th Cir. 2012)). The second element requires

 “that      a    defendant    have     actual      ‘knowledge     of    the   underlying

 [wrongdoings],’ not merely that certain ‘red flags’ indicate a

 defendant ‘should have known’ of the [wrongdoings].” Honig v.

 Kornfeld, 339 F. Supp. 3d 1323, 1343 (S.D. Fla. 2018). “Substantial

 assistance occurs when a defendant affirmatively assists, helps

 conceal[,] or fails to act when required to do so, thereby enabling

 the breach to occur.” Logan, 350 So. 3d at 411 (citations omitted).

 But substantial assistance for aiding and abetting purposes “has

 never been boundless.” Twitter, Inc. v. Taamneh, 598 U.S. 471,



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 488–89 (2023).      “That is because, if it were, aiding-and-abetting

 liability could sweep in innocent bystanders as well as those who

 gave only tangential assistance. . . . Moreover, both criminal and

 tort law typically sanction only ‘wrongful conduct,’ bad acts, and

 misfeasance. . . . Some level of blameworthiness is therefore

 ordinarily required.”        Id.     “For these reasons, courts have long

 recognized the need to cabin aiding-and-abetting liability to

 cases of truly culpable conduct.”              Id. at 489.

             4. Sufficiency of Aiding and Abetting Allegations

       Of   the   “agency”   claims      left    in    the     SAC,    only    Count    11

 explicitly mentions aiding and abetting. Embedded deep in Count

 11, two of the last three paragraphs state that “OMG Realty,

 Central    Park,    [and]   Garramone      were      aware     of    Camp’s    tortious

 activity    through    Camp’s      communications        -on    and     off    –    [sic]

 Garramone    Surgery    Ctr.      and   Winkler       Property,        and    knowingly

 provided substantial assistance. As a result, Garramone’s, OMG

 Realty’s, and Central Park’s, aiding and abetting of Garramone’s

 employee or agent Camp, Noshirvan suffered [damages].” (Doc. #139,

 ¶¶   305-06.)      Counts   7    through     10      simply     assert       that    some

 defendant(s) was/were “aware” of Camp’s allegedly tortious conduct

 and “provided substantial assistance.” (Doc. #139, ¶¶ 231, 247,

 262, 282.) These are the apparent bases upon which Noshirvan argues

 aiding and abetting “was plead.” (Doc. #160, p.                      16.)




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       The   Court    finds   otherwise.      First,   these    counts    fail   to

 plausibly plead aiding and abetting. The mere recitals of the

 aiding and abetting elements in Counts 7, 8, 9, and 10 are not

 enough. See Iqbal, 556 U.S. at 678 (“Threadbare recitals of the

 elements    of   a   cause   of   action,    supported   by    mere   conclusory

 statements, do not suffice.”). Count 11 alleges a little more,

 explaining that “OMG Realty provided substantial assistance by

 allowing Garramone and Camp to utilize Garramone Surgery Ctr. to

 carry out those acts,” and that “Central Park provided substantial

 assistance by allowing Garramone and Camp to utilize the Winkler

 Property to carry out those acts.” (Doc. #139, ¶¶ 302-03.) But the

 mere “provision of . . . infrastructure which provides material

 support to [tortfeasors]” is not an affirmative act sufficient to

 allege   substantial     assistance    under    aiding    and    abetting.      See

 Twitter, 598 U.S. at 499. More must be alleged, such as an “act of

 encouraging, soliciting, or advising the commission of [a specific

 wrongful act].” Id. at 500. The SAC does not make such allegations.

 It simply attempts to attach aiding and abetting liability on

 defendants because Camp stayed and acted from a property owned by

 some of those defendants. But that in and of itself does not allege

 an affirmative act by those defendants towards specific wrongful

 conduct. The SAC therefore fails to sufficiently plead aiding and

 abetting.




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       Second, Noshirvan’s attempt to plead aiding and abetting

 within the “agency” counts results in a shotgun pleading. Noshirvan

 cannot simultaneously raise a claim for aiding and abetting a tort

 in the same counts in which he raises an agency claim for that

 tort.   Aiding and abetting and agency are two different vicarious

 liability actions. By combining them, Noshirvan “commit[ted] the

 sin of not separating into a different count each cause of action

 or claim for relief.” Weiland, 792 F.3d at 1323.             These aiding and

 abetting claims are dismissed without prejudice.

            5. Sufficiency of Ratification Allegations

       The Court finds that ratification is insufficiently pled.

 Counts 6 through 11 each contain a sentence asserting that varying

 defendants were “aware” of and “ratified” Camp’s actions. (Doc.

 #139, ¶¶ 211, 228, 243, 259, 274, 294.) These sentences are

 conclusory   and   fail     to   sufficiently   allege   ratification.     See

 Iqbal, 556 U.S. at 678. It is also problematic that the sentences

 assert varying defendants ratified Camp’s “actions.” Attributing

 ratification to broad, undefined “actions” is insufficient because

 “[r]atifying one transaction or act does not encompass multiple

 independent transactions undertaken at approximately the same time

 or during the same general course of conduct.” Restatement (Third)

 Of Agency § 4.07 cmt. c (2006). Instead, as to each “act in

 question,” G & M Restaurants Corp. v. Tropical Music Serv., Inc.,

 161 So. 2d 556, 558 (Fla. 2d DCA 1964), it must be sufficiently



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 pled that the ratifier was fully informed of the act and that he

 affirmatively “approve[d] that act.” Stalley, 44 So. 3d 627 at

 631. The SAC simply fails to comply with this requirement.                           Any

 ratification theory Plaintiff has attempted to plead in these

 counts is dismissed without prejudice.


              6. Sufficiency of Actual Agency Allegations

        The first two elements of actual agency are sufficiently pled

 when a complaint alleges that the purported agent was “employed

 by” the purported principal, was “its employee[] or agent[]”,

 “acting within the scope” of employment, was directly compensated

 by the purported principal, worked at a location “created, owned,

 and operated by” the purported principal, wore uniforms provided

 by     the   purported    principal,        and     the     purported         principal

 represented to others that the purported agent was an employee.

 Franza v. Royal Caribbean Cruises, Ltd., 772 F.3d 1225, 1236 (11th

 Cir. 2014).

        Here, the SAC alleges that GPS, Central Park, Garramone, and

 Couture employed Camp; that Camp is their employee or agent, and

 that Camp was acting within the scope of employment for each. (Doc.

 #139, ¶¶ 196, 207, 209, 220, 225-26, 235, 240-41.) It is alleged

 that    Couture,   GPS,   and   Garramone     paid        Camp     to   act   as   their

 “representative, marketing, social media, and online reputation

 manager.” (Id. at ¶¶ 197, 236, 252.) The SAC states Couture




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 financially compensated Camp, but specifies that GPS and Garramone

 paid Camp bi-weekly. Camp’s job title was allegedly just a guise

 by which Defendants could pay Camp to terrorize Noshirvan. (Id. at

 p. 3.) Meanwhile, Central Park is alleged to have paid Camp in

 kind by letting him live in the Winkler Property “for his services

 [to] Garramone . . . .” (Id. at ¶ 221.) It is alleged that Camp

 also worked out of 12998 S. Cleveland Ave, where GPS is located

 and where all the Garramone entities except for Wraith and GPS

 maintain their principal place of business. (Id. at ¶¶ 149-50,

 276.)   Additionally,       it   is   alleged   that   GPS    and   Garramone

 acknowledged in writing that Camp was authorized to act on their

 behalf. (Id. at ¶ 396.)

       The allegations sufficiently plead the first two elements of

 actual agency only as to Couture, Garramone, GPS, and Central Park.

 Camp allegedly was their employee, acting within the scope of his

 employment, and receiving compensation. At the pleading stage,

 this suffices to plausibly allege that Couture, Garramone, GPS,

 and Central Park acknowledged Camp would act for them and Camp

 accepted. See Franza, 772 F.3d at 1236. The reasonable inference

 is further supported by the allegation that GPS and Garramone

 acknowledged in writing that Camp was authorized to act on their

 behalf. See Belik v. Carlson Travel Grp., Inc., 864 F. Supp. 2d

 1302, 1311 (S.D. Fla. 2011)(holding actual agency was sufficiently




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 plead partly based on allegation that principal acknowledged in

 writing that agent acted on its behalf).

         But the SAC does not sufficiently plead the first two elements

 of actual agency as to any other Defendant. Apart from Couture,

 Garramone, GPS, and Central Park, no other entity is alleged to

 have employed or compensated Camp. Nothing in the SAC alleges or

 suggests that any other entity acknowledged Camp could act on their

 behalf or that Camp accepted acting on their behalf. Instead, the

 SAC attempts to attach liability to the other Garramone Entities

 simply because they share a common managing agent (Garramone) and

 principal place of business (Cleveland Ave.). But the Garramone

 Entities cannot be held vicariously liable under actual agency for

 such mere commonalities since legal entities are separate and

 distinct “even if they share the same ownership and management.”

 ZAGG Inc. v. Ichilevici, No. 23-CV-20304, 2024 WL 5186468, at *4

 n.2 (S.D. Fla. Dec. 20, 2024); United Techs. Corp. v. Mazer, 556

 F.3d     1260,    1271      (11th    Cir.      2009)(stating      that     actual

 agency/respondeat superior “does not necessarily impute to the

 corporation any and all conduct by one who at times also acts on

 a corporation's behalf.”); see also Cedric Kushner Promotions,

 Ltd. v. King, 533 U.S. 158 (2001)(holding that an individual and

 an entity solely owned by that individual can each be considered

 distinct for liability reasons if it is properly alleged that the

 owner    was   acting    within     his   scope   of   employment).      This   is



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 especially true here, where the SAC alleges that Garramone hired

 Camp “to perform services on his behalf” and that Camp was “his

 personal” employee. (Doc. #139, ¶¶ 235-236.) The SAC fails to

 allege the first two elements of actual agency as to anyone except

 Couture, Garramone, GPS, and Central Park.

        The final element—control—is the most important to establish

 actual agency. Hickman, 5 So. 3d at 806. The SAC fails to plausibly

 allege anyone controlled Camp. Plaintiff only offers one fact to

 allege    control:        compensation.          (Doc.    #139,     ¶¶   205,      239,

 255)(pleading that Couture, Garramone, and GPS “maintained control

 over Camp by virtue of the monetary compensation” paid to Camp);

 (Doc. #139, ¶ 224)(pleading that Central Park “maintained control

 over   Camp     by    virtue    of   the    in   kind    (living    accommodations)

 compensation         it   provided     to    Camp”).     Compensation      fails     to

 plausibly allege control because it only “evince[s] control over

 the ends of the job, not the means of it,” and therefore it is

 irrelevant as courts must “ignore ‘mere economic control’” when

 analyzing this element. Garcia-Celestino v. Ruiz Harvesting, Inc.,

 898 F.3d 1110, 1122 (11th Cir. 2018)(quoting Crew One Prods., Inc.

 v. N.L.R.B., 811 F.3d 1305, 1311 (11th Cir. 2016)). Fatally, no

 other fact or argument for control is advanced by the Plaintiff.

 See id. at 1126 (rejecting control assertion partly because party

 “d[id]    not        identify    any    such      control     rights     [principal]

 purportedly had.”).



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         Instead of alleging Camp was sufficiently controlled, the SAC

 actually does the opposite. Unlike mere compensation, the method

 of compensation is relevant to this analysis. See Carlson, 787

 F.3d at 1319 (listing “the method of payment, whether by the time

 or by the job,” as a factor to determine control). This is because

 “an hourly-pay arrangement usually suggests workers are employees,

 while     a   by-the-job    arrangement      tends   to   indicate     they    are

 independent contractors.” Garcia-Celestino, 898 F.3d at 1128. The

 distinction is important because employers can be vicariously

 liable for the actions of their employees but not for the actions

 of their independent contractors. Lenox v. Sound Ent., Inc., 470

 So. 2d 77, 78 (Fla. 2d DCA 1985); Hunt v. Liberty Lobby, 720 F.2d

 631, 649 (11th Cir. 1983).

       Here, the SAC itself alleges Camp does “freelance work” to

 harass “the ‘paid-for’ target” in exchange for payment. (Doc. #139,

 ¶¶   69-70.)      A   freelancer   is    essentially      synonymous    with    an

 independent      contractor.    See     Freelance,     Cambridge     Dictionary

 (“working independently usually for various organizations rather

 than as an employee of a particular one”); Freelance, Collins

 Dictionary (“Someone who does freelance work . . . is not employed

 by one organization, but is paid for each piece of work they do by




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 the organization they do it for.”). 8 While it is true that the

 descriptive label used by the parties is not determinative of their

 actual legal relationship, Nazworth, 486 So. 2d at 638, the factual

 allegation that Camp was compensated for the job of harassing

 Noshirvan shows an independent contractor relationship, not that

 of an employee. Garcia-Celestino, 898 F.3d at 1128.

       In   sum,     the   SAC    only   sufficiently       pleads     the   first   two

 elements of actual agency as to Couture, Garramone, GPS, and

 Central     Park.    The    last      and   most     important      element    is   not

 sufficiently pled as to any defendant because the lone fact offered

 to show control—that Camp was compensated—fails to do so. If

 anything, the SAC alleges that Camp is an independent contractor

 hired by multiple parties to harass Noshirvan. Since that fails to

 allege     the    element       of   control     necessary     for    actual    agency

 liability, the “agency” defamation claims fail, and are dismissed

 without prejudice.

       D. Miscellaneous Arguments

       Since all of the counts merit dismissal for the reasons

 stated, any additional arguments need not be reached. But three

 miscellaneous arguments do merit discussion. First, Trainor and

 Trainor    Law    argue     they     are    immune    from   the     defamation     and


       8Courts may look at popular and legal dictionaries to
 determine the ordinary meaning of a word. Spencer v. Specialty
 Foundry Prod. Inc., 953 F.3d 735, 740 (11th Cir. 2020).



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 misappropriation of likeness claims under Florida’s litigation

 privilege. (Doc. #162, p. 20.) They are wrong. Florida’s litigation

 privilege comes in two forms: absolute and qualified. Grippa v.

 Rubin,   133   F.4th   1186    (11th   Cir.   2025).     Absolute    litigation

 privilege applies “when the relevant statements were made ‘either

 in front of a judicial officer or in pleadings or documents filed

 with the court or quasi-judicial body,’” Id. at 1194. (quoting

 DelMonico v. Traynor, 116 So. 3d 1205, 1217 (Fla. 2013), abrogated

 on other grounds by Askew v. Fla. Dep't of Child. & Fams., 385 So.

 3d 1034, 1036 n.2 (Fla. 2024)). Qualified litigation privilege

 applies when “‘ex-parte, out-of-court statements’ that are related

 to the underlying lawsuit a[re] made without express malice.” Id.

 at 1198 (quoting DelMonico, 116 So. 3d at 1208, 1218-19). Neither

 applies here because the alleged acts did not occur before a

 judicial officer, in filed documents/pleadings, or in the course

 of an underlying lawsuit.

       Next, all Defendants argue that the SAC fails to properly

 plead punitive damages under Florida Statute § 768.72. But, as

 Noshirvan correctly argues, the Eleventh Circuit has “held that

 section 768.72[’s] . . . pleading requirements are inapplicable to

 federal diversity cases.” SE Prop. Holdings, LLC v. Welch, 65 F.4th

 1335, 1348 (11th Cir. 2023)(citing Cohen v. Office Depot, Inc.,

 184 F.3d 1292, 1295–99 (11th Cir. 1999), vacated in part on other




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 grounds, 204 F.3d 1069 (11th Cir. 2000)). Defendants’ § 768.72

 argument is rejected.

       Lastly,    Defendants        argue    that          the    SAC   is     replete   with

 duplicative counts. Plaintiff offers no rebuttal argument. But a

 reading    of   the   SAC    does     suggest            that    multiple      counts   are

 duplicative.    For   example,       Counts          8    and    10    both    allege   that

 Garramone is vicariously liable for Camp’s alleged defamation of

 Noshirvan. The same goes for Counts 6, 17, and 18 since they all

 allege that GPS is vicariously liable for Camp’s alleged defamation

 of Noshirvan. Similarly, Central Park is alleged to be vicariously

 liable for Camp’s alleged defamation of Noshirvan in Counts 7, 10,

 and 11. Duplicative counts are dismissed without prejudice and any

 forthcoming amended complaint should be devoid of duplicative

 counts.

                                                 V.

       Plaintiff may file a final amended complaint for the limited

 purpose of addressing the deficiencies addressed in the counts

 dismissed without prejudice. Any forthcoming complaint would be

 Plaintiff’s     fourth.     If    deficiencies             persist,     the     Court   will

 consider   dismissal      with     prejudice             given   Plaintiff’s      repeated

 failure to cure and the futility of allowing further amendments.

 (See Doc. #168, p. 12)(Plaintiff opining that “[i]f the SAC fails

 to put Defendants on notice-no pleading ever will.”).

       Accordingly, it is now



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       ORDERED:

       1. Defendants’ Motions to Dismiss (Docs. ##160, 161, 162) are

         GRANTED IN PART AND DENIED IN PART as set forth below.

       2. The following counts or portions of counts are dismissed

         without prejudice:

            a. Count   2,    except   as    to   Noshirvan’s    social    media

               accounts and subscribers/donors, which is dismissed

               with prejudice.

            b. Count 3

            c. Count 4, except as to the allegation of false reports

               to Child Protective Services, which is dismissed with

               prejudice.

            d. Count 5

            e. Count 6

            f. Count 7

            g. Count 8

            h. Count 9

            i. Count 10

            j. Count 11

            k. Count 12, except as to the allegation of false reports

               to Child Protective Services, which is dismissed with

               prejudice.




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            l. Count 13, except as to the allegation of false reports

               to Child Protective Services, which is dismissed with

               prejudice.

            m. Count   14,   except     as   to   Noshirvan’s      social   media

               accounts and subscribers/donors, which is dismissed

               with prejudice.

            n. Count 15

            o. Count 16

            p. Count 17

            q. Count 18

            r. Count 19

       3. Plaintiff    may   file   a   Third     Amended      Complaint    within

         FOURTEEN (14) DAYS of this Opinion and Order.

       DONE AND ORDERED at Fort Myers, Florida, this ___26th___ day

 of June 2025.




 Copies:
 Parties of record




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